USCA4 Appeal: 25-1338   Doc: 1        Filed: 04/03/2025   Pg: 1 of 3


                                                                       FILED: April 3, 2025

                          UNITED STATES COURT OF APPEALS
                              FOR THE FOURTH CIRCUIT

                                    ___________________

                                         No. 25-1338
                                     (1:25-cv-00748-JKB)
                                    ___________________

        STATE OF MARYLAND; STATE OF MINNESOTA; DISTRICT OF
        COLUMBIA; STATE OF ARIZONA; STATE OF CALIFORNIA; STATE OF
        COLORADO; STATE OF CONNECTICUT; STATE OF DELAWARE; STATE
        OF HAWAII; STATE OF ILLINOIS; STATE OF MASSACHUSETTS; STATE
        OF MICHIGAN; STATE OF NEVADA; STATE OF NEW JERSEY; STATE OF
        NEW MEXICO; STATE OF NEW YORK; STATE OF OREGON; STATE OF
        RHODE ISLAND; STATE OF VERMONT; STATE OF WISCONSIN

                    Plaintiffs - Appellees

        v.

        UNITED STATES DEPARTMENT OF AGRICULTURE; BROOKE ROLLINS,
        in her Official Capacity as Secretary of Agriculture; UNITED STATES
        DEPARTMENT OF COMMERCE; HOWARD LUTNICK, in his Official
        Capacity as Secretary of Commerce; UNITED STATES DEPARTMENT OF
        DEFENSE; PETE HEGSETH, In his Official Capacity as Secretary of Defense;
        UNITED STATES DEPARTMENT OF EDUCATION; LINDA MCMAHON, in
        her Official Capacity as Secretary of Education; UNITED STATES
        DEPARTMENT OF ENERGY; CHRISTOPHER A. WRIGHT, in his Official
        Capacity as Secretary of Energy; UNITED STATES DEPARTMENT OF
        HEALTH & HUMAN SERVICES; ROBERT F. KENNEDY, JR., in his Official
        Capacity as Secretary of Health and Human Services; UNITED STATES
        DEPARTMENT OF HOMELAND SECURITY; KRISTI NOEM, in her Official
        Capacity as Secretary of Homeland Security; UNITED STATES DEPARTMENT
        OF HOUSING & URBAN DEVELOPMENT; SCOTT TURNER, in his Official
        Capacity as Secretary of Housing and Urban Development; UNITED STATES
        DEPARTMENT OF THE INTERIOR; DOUGLAS BURGUM, in his Official
        Capacity as Secretary of the Interior; UNITED STATES DEPARTMENT OF
        LABOR; VINCENT N. MICONE, III, in his Official Capacity as Acting
USCA4 Appeal: 25-1338    Doc: 1          Filed: 04/03/2025   Pg: 2 of 3



        Secretary of Labor; UNITED STATES DEPARTMENT OF
        TRANSPORTATION; SEAN DUFFY, in his Official Capacity as Secretary of
        Transportation; UNITED STATES DEPARTMENT OF THE TREASURY;
        SCOTT BESSENT, in his Official Capacity as Secretary of the Treasury;
        UNITED STATES DEPARTMENT OF VETERANS AFFAIRS; DOUGLAS
        COLLINS, in his Official Capacity as Secretary of Veterans Affairs;
        CONSUMER FINANCIAL PROTECTION BUREAU; RUSSELL VOUGHT, in
        his Official Capacity as Acting Director of the Consumer Financial Protection
        Bureau; UNITED STATES ENVIRONMENTAL PROTECTION AGENCY;
        LEE M. ZELDIN, in his Official Capacity as Administrator of the Environmental
        Protection Agency; FEDERAL DEPOSIT INSURANCE CORPORATION;
        TRAVIS HILL, in his Official Capacity as Acting Chairman of the Federal
        Deposit Insurance Corporation; GENERAL SERVICES ADMINISTRATION;
        STEPHEN EHIKIAN, in his Official Capacity as Acting Administrator of the
        General Services Administration; NATIONAL ARCHIVES AND RECORDS
        ADMINISTRATION; OFFICE OF PERSONNEL MANAGEMENT; CHARLES
        EZELL, in his Official Capacity as Acting Director of the Office of Personnel
        Management; SMALL BUSINESS ADMINISTRATION; KELLY LOEFLER, in
        her Official Capacity as Administrator of the Small Business Administration;
        UNITED STATES AGENCY FOR INTERNATIONAL DEVELOPMENT;
        MARCO RUBIO, in his Official Capacity as Acting Administrator of the United
        States Agency for International Development and Archivist for the National
        Archives and Records Administration

                     Defendants - Appellants


        This case has been opened on appeal.

        Originating Court                          United States District Court for the
                                                   District of Maryland at Baltimore
        Originating Case Number                    1:25-cv-00748-JKB
        Date notice of appeal filed in             04/02/2025
        originating court:
        Appellant(s)                               United States Department of
                                                   Agriculture et al.
        Appellate Case Number                      25-1338
        Case Manager                               Jeffrey S. Neal
                                                   804-916-2702
USCA4 Appeal: 25-1338   Doc: 1   Filed: 04/03/2025   Pg: 3 of 3
